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15   Company

16                              UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
18   IN RE: ROUNDUP PRODUCTS                    MDL No. 2741
     LIABILITY LITIGATION
19                                              Case No.: 3:16-md-02741-VC

20   Gerald Nelson, et al. v. Monsanto Co.,     DEFENDANT MONSANTO COMPANY’S
                                                REPLY IN SUPPORT OF ITS MOTION
     Case No. 3:19-cv-04576-VC                  TO EXCLUDE TESTIMONY OF DR. D.
21
                                                BARRY BOYD
22
                                                Hearing:
23                                              Date: March 1, 2024
                                                Time: 10:00 a.m.
24                                              Place: San Francisco Courthouse,
                                                       Courtroom 4 – 17th Floor
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                  REPLY ISO MOTION TO EXCLUDE TESTIMONY OF DR. D. BARRY BOYD
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 1   I.    INTRODUCTION
 2          Plaintiff’s opposition (“Opposition”) largely ignores the core points of Monsanto’s
 3   Motion, or else reaffirms the aspects of Dr. Boyd’s opinions that render them unreliable. Plaintiff
 4   contends that because Dr. Boyd said he performed a differential diagnosis, his opinions are
 5   beyond reproach. However, claiming to apply a differential diagnosis does not equate to a
 6   properly conducted differential diagnosis. Dr. Boyd’s differential diagnosis strays far from any
 7   conventionally accepted method as his process does not reliably rule-in Roundup, but instead is
 8   merely designed to lead to his pre-ordained conclusion. Engaging in a flawed “always Roundup”
 9   methodology, Dr. Boyd determines Roundup to be the cause while not seriously considering
10   Plaintiff’s numerous and substantial non-Roundup risk factors for NHL. As such, Dr. Boyd’s
11   specific causation opinion must be excluded. See Chapman v. Procter & Gamble Distrib., LLC,
12   766 F.3d 1296, 1311 (11th Cir. 2014) (affirming exclusion of expert witness who “failed to
13   consider obvious alternative causes for [plaintiff’s condition]”).
14   II.   ARGUMENT
15         A. Dr. Boyd Fails to Reliably Rule In Roundup
16          As an initial matter, Monsanto does not dispute that a differential diagnosis is an
17   admissible and generally accepted technique. (See Opp. at 3-4.) Instead, Monsanto disputes that
18   Mr. Boyd’s opinions are grounded on a properly conducted differential diagnosis.
19          Plaintiff claims that Dr. Boyd properly ruled in Roundup based on his “exposure days”
20   methodology. But Dr. Boyd fails to calculate the specific dose that Plaintiff experienced. Ex. P,
21   Boyd (Nelson) Dep. at 47:15-18 (“I didn’t measure how much glyphosate he got on his skin –
22   the exact amount he received.”). Yet, dose must be considered when “evaluating whether an
23   alleged exposure caused a specific adverse effect.” See, e.g., McClain v. Metabolife Intern., Inc.,
24   401 F.3d 1233, 1242 (11th Cir. 2005) (“Dose is the single most important factor to consider in
25   evaluating whether an alleged exposure caused a specific adverse effect.”). Plaintiff’s
26   Opposition also fails to squarely address Monsanto’s argument that courts have routinely
27   excluded experts who fail to establish dose and instead rely only on exposure. See, e.g., McClain,
28   401 F.3d at 1239 (excluding expert as unreliable as the expert “neglect[ed] the hallmark of the
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 1   science of toxic torts—the dose-response relationship.”); In re Denture Cream Prod. Liab.
 2   Litig., 795 F. Supp. 2d 1345, 1353 (S.D. Fla. 2011) (excluding expert testimony where “there is
 3   no dose-response evidence which Plaintiffs' experts may use to reliably infer what type of
 4   exposure level” would cause the injury).
 5          Plaintiff’s Opposition also misconstrues Monsanto’s argument that Dr. Boyd’s opinions
 6   are unreliable because he improperly relied on the opinions of another expert, Dr. Herrick. (Opp.
 7   at 4.) Monsanto does not dispute that experts can rely on another expert’s opinions. Instead,
 8   Monsanto contends that any such reliance must be based on opinions that are reliable. Here,
 9   Plaintiff does not address any of Monsanto’s contentions that the expert opinion that is the
10   cornerstone of Dr. Boyd’s opinions – Dr. Herrick’s “exposure days” analysis – is unreliable.
11          First, Dr. Herrick’s analysis does not measure dose or even the actual amount of
12   Roundup to which Plaintiff was exposed. (See Ex. K, Herrick (Nelson) Dep. at 108:21-109:11.)
13   Instead, Dr. Herrick simply read Plaintiff’s testimony and counted the number of days Plaintiff
14   claimed to spray Roundup. See Ex. Q, Herrick (Nelson) Dep. at 99:22-102:9. Critically, Dr.
15   Herrick testified that he only provided a range for exposure numbers for Plaintiff because
16   Plaintiff’s testimony was uncertain. Id. But the number of days a person claims to have sprayed
17   Roundup says nothing about the amount of Roundup in that person’s body – especially where,
18   as here, Dr. Herrick did not consider crucial metrics of dose, such as method of application, the
19   PPE used by Plaintiff, or even the concentration of Roundup that Plaintiff used. For this reason,
20   Dr. Herrick admits, as he must, that his exposure days methodology does not relate to the actual
21   biological level in humans. See id. at 151:5-156:5. Furthermore, Dr. Herrick admitted that he
22   did not consider, or make adjustments for, Plaintiff’s use of personal protective gear in his
23   analysis, id. at 122:2-14, despite acknowledging that such factors may reduce a person’s
24   exposure to Roundup. See id. at 117:23-121:3, 196:12-24; see also id. at 117:23-119:3 (goggles),
25   120:4-121:8 (respirator mask reduces inhalation exposure to Roundup), 121:4-24 (surgical
26   mask). Still, Dr. Herrick did not make any adjustments for the Plaintiff’s use of protective gear.
27   Id. at 122:2-14.; see id.at 111:23-113:4 (heavy work clothes), 113:6-23 (gloves); 114:21-115:24
28   (waterproof boots).
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 1            Dr. Herrick also admits that he did not consider various factors that he admits would
 2   reduce exposure, and that Plaintiffs testified were present when they sprayed and/or mixed
 3   Roundup. For example:
 4
            Dr. Herrick admits that Mr. Nelson testified he does not recall getting Roundup on his
 5           skin because of all the precautions he took. Id. at 124:3-14. However, Dr. Herrick made
             no adjustments to his exposure assessment of Mr. Nelson based on his testimony that he
 6           did not recall getting any Roundup or any herbicide on his skin at any time. Id. at 124:15-
             125:9.
 7

 8          Dr. Herrick admits that Mr. Nelson testified he washed his hands after every time he used
             Roundup. Id. at 127:10-128:19. However, Dr. Herrick did not make any adjustments to
 9           his exposure estimates based on this testimony. Id. at 135:5-14.

10          Dr. Herrick admits that Mr. Nelson used premixed Roundup, which he admits could
             reduce the risk of exposure to Roundup. Id. at 139:20-141:22. However, Dr. Herrick does
11           not account for the type of Roundup used by Mr. Nelson.
12            Accordingly, Dr. Herrick’s opinions are unreliable, and because Dr. Boyd relies entirely
13   on Dr. Herrick’s opinions to rule in Roundup, there are no additional grounds upon which Dr.
14   Boyd’s specific-causation opinions can stand.1
15            Plaintiff also contends that Dr. Boyd properly “ruled-in” Roundup as a cause of
16   Plaintiff’s NHL because of Plaintiff’s “substantial exposure to Roundup[.]” (Opp. at 7). But this
17   argument is entirely circular. Dr. Boyd cannot rule in Roundup simply because Plaintiff used it.
18   Instead, he must establish that Plaintiff was exposed to an amount of Roundup sufficient to cause
19   NHL. See McClain, 401 F.3d at 1244 (holding that an expert must “show that Plaintiffs had
20   sufficient individual exposure [] to cause the medical problems”); see also Mitchell v. Gencorp
21   Inc., 165 F.3d 778, 781 (10th Cir. 1999). And he cannot do this, as he fails to consider dose and
22   instead relies on an exposure days methodology, which is insufficient. See Williams v. Mosaic
23   Fertilizer, LLC, 889 F.3d 1239, 1246 (11th Cir. 2018) (affirming exclusion of expert where
24   expert “never conducted an independent dose calculation” and “failed to demonstrate a scientific
25   basis for concluding that those exposure levels would likely produce, contribute to, or exacerbate
26   [plaintiff’s] conditions.”)
27
     1
      Monsanto has filed a motion to exclude Dr. Herrick’s opinions on this very basis. See Dkt. No.
28   17,617.
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 1           Finally, Monsanto’s argument that “Dr. Boyd’s use of certain studies and datapoints
 2   violates the weight of the evidence of review he purports to be applying” is not an argument as
 3   to the weight (rather than admissibility of Dr. Boyd’s opinions), as Plaintiff suggests. (Opp. at
 4   5.) Instead, as stated in Monsanto’s opening brief, Dr. Boyd cherry-picked literature and data
 5   points in reaching his opinions, in the face of the near totality of literature finding that Roundup
 6   does not cause NHL. Such cherry-picking renders Dr. Boyd’s opinions wholly unreliable. See
 7   In re Bextra & Celebrex Mktg. Sales Practices & Prods. Liab. Litig., 524 F.Supp.2d 1166, 1175–
 8   76, 1179 (N.D.Cal.2007) (holding that experts may not “cherry -pick[ ]” studies to support a
 9   conclusion that is contradicted by others); see also In re Lipitor (Atorvastatin Calcium) Mktg.,
10   Sales Pracs. & Prods. Liab. Litig., 892 F.3d 624, 634 (4th Cir. 2018) (“Result-driven analysis,
11   or cherry-picking, undermines principles of the scientific method and is a quintessential example
12   of applying methodologies (valid or otherwise) in an unreliable fashion. Courts have
13   consistently excluded expert testimony that cherry-picks relevant data”) (internal quotation
14   marks and citation omitted). Rather under Daubert, Dr. Boyd’s opinions must be excluded
15   because they do not reliably rule-in Roundup as a cause of Plaintiff’s NHL. See Siharath v.
16   Sandoz Pharms. Corp., 131 F. Supp. 2d 1347, 1371 (N.D. Ga. 2001) (excluding expert witness
17   for failure to reliably rule in product).
18         B. Dr. Boyd Fails to Reliably Rule Out Alternative Causes
19           Plaintiffs’ argument that Dr. Boyd’s handling of alternative causes goes to weight and
20   not admissibility is fundamentally incorrect. Where, as here, an expert fails to meaningfully rule
21   out alternative causes, his opinions should be excluded. Guinn v. AstraZeneca Pharms. LP, 602
22   F.3d. 1245, 1254 (11th Cir. 2010) (“A differential diagnosis that fails to take serious account of
23   other potential causes may be so lacking that it cannot provide a reliable basis for an opinion on
24   causation”) (emphasis added).
25           Here, as part of his differential diagnosis, Dr. Boyd fails to take serious account of
26   several known alternative causes of Plaintiff’s NHL – (1) Plaintiff’s age, gender and ethnicity;
27   (2) exposure to other chemicals; (3) family history of cancer; and (4) naturally-occurring genetic
28   mutations due to replication errors. Although such alternative causes are clear risk factors for
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 1   Plaintiff’s NHL, Dr. Boyd summarily rules them out, simply stating that his analysis is
 2   predicated on the “essential exclusion of other potential risk factors [] that could be causative[.]”
 3   (Ex. C, Boyd Rpt. at 30.) However, a properly conducted differential diagnosis requires the
 4   expert to “systematically rul[e] out causes that would not apply to the patient” to arrive “at what
 5   is the likely cause of the ailment.” Myers v. Ill. Cent. R.R. Co., 629 F.3d 639, 644 (7th Cir.
 6   2010); see Guinn, 602 F.3d at 1253 (holding that an expert’s opinion was properly excluded
 7   where the differential diagnosis failed to consider alternative causes and was deemed
 8   unreliable).
 9          Dr. Boyd’s failure to meaningfully consider Plaintiff’s risk factors demonstrates that he
10   has employed a flawed, results-driven “always Roundup” methodology—precisely the type of
11   unconventional approach that should be excluded.
12                  1. Age, gender, and ethnicity.
13          Plaintiff is a Caucasian male who was diagnosed with NHL at 69 years old. Dr. Boyd
14   testified that Plaintiff’s age, gender, and ethnicity put him at an increased risk of developing
15   NHL. See Ex. B, Boyd (Nelson) Dep. at 57:18-58:23. Yet, Dr. Boyd did not reliably consider
16   those risk factors. Plaintiff’s Opposition makes no attempt to address Dr. Boyd’s cursory
17   dismissal of such risk factors and simply reiterates Dr. Boyd’s vague statements that he did
18   consider all risk factors. Dr. Boyd’s failure to take serious account of these factors – which he
19   admits are risk factors for NHL – renders his opinions unreliable. Guinn, 602 F.3d at 1253.
20                  2. Exposure to other chemicals and herbicides.
21          Plaintiff argues that Dr. Boyd considered and ruled out Plaintiff’s exposure to other
22   chemicals and herbicides as an alternative cause of Plaintiff’s NHL. Plaintiff claims that Dr.
23   Boyd ruled out Plaintiff’s exposures to other chemicals as a cause of Plaintiff’s NHL because
24   Plaintiff’s exposures to other chemicals was “minimal in comparison to his exposure to
25   Roundup[.]” (Opp. at 6.) However, Dr. Boyd relies entirely on Dr. Herrick’s exposure analysis,
26   which, as discussed above, is unreliable. Therefore, Dr. Boyd’s assessment of Plaintiff’s
27   exposure to Roundup in comparison to Plaintiff’s exposure to other chemicals is foundationally
28   untenable.
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 1                 3. Family history of cancer.
 2          Plaintiff has a family history of cancer, including a father who had B-cell lymphoma and
 3   a grandmother with lymphoma. See Ex. B, Boyd (Nelson) Dep. at 59:15-60:14. Dr. Boyd
 4   testified that he ruled out Plaintiff’s family history of cancer as an alternative cause of his NHL
 5   because “family history represents a higher risk when the onset of the disease occurs at a younger
 6   age” and “the predictor of risk of a familial gene causing a cancer is younger age at onset.” Id.
 7   at 60:15-25. But confusingly, Dr. Boyd relies on literature contradicting such testimony in his
 8   report. For instance, Boyd relies on the McDuffie study, and cites to it in his report, which found
 9   an increased risk of NHL when a first-degree relative had any type of cancer. See Ex. C, Boyd
10   Rpt. at 22, n. 51; see also Ex. I, McDuffie, et al., Non-Hodgkin’s Lymphoma and Specific
11   Pesticide Exposures in Men: Cross-Canada Study of Pesticides and Health, 10 Cancer
12   Epidemiology, Biomarkers & Prevention 1155, 1160 (2001). Plaintiff’s Opposition does not
13   address the contradiction but simply reiterates the Boyd Report. (See Opp. at 6.)
14                 4. Naturally-Occurring Mutations.
15          Dr. Boyd offers no basis to rule out idiopathic causes (including naturally-occurring
16   genetic mutations) as the cause of Plaintiff’s NHL. Plaintiff contends that Dr. Boyd reliably
17   ruled out naturally-occurring mutations because “differential diagnoses are appropriate even
18   when there is a high rate of unknown causes” and where “the expert cannot completely rule out
19   idiopathic causes.” (Opp. at 7.) But Plaintiff’s argument misunderstands the relevant science.
20   Naturally-occurring genetic mutations are themselves a cause of NHL. As this Court has
21   recognized, Monsanto’s evidence regarding naturally-occurring genetic mutations is offered to
22   rebut the testimony of Plaintiffs’ specific causation experts who, like Dr. Boyd, simply rule-in
23   Roundup based on their conclusion that a plaintiff did not have other risk factors:
24         THE COURT: . . . why does Monsanto want to put this witness on at trial? The
25         answer to me, it seems, is obvious; right? You have these specific causation experts
           who are doing a very sketchy job of differential diagnosis or differential etiology.
26         And basically, what they are saying is, well, you know, there are these four risk
           factors for NHL, and the patient didn’t have these three risk factors. The only risk
27         factor was exposure to Roundup. Therefore, the Roundup caused the patient’s
           NHL; right? I mean, that is – I’m oversimplifying a little bit. I mean, they’re
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           finessing it a little bit. But effectively, that seems to be what the – that’s the message
 1         from these specific causation experts.
 2
           That type of testimony is obviously quite sketchy, and you know, Tomasetti’s
 3         testimony helps a juror understand why the testimony of these specific causation
           experts is so sketchy; right?
 4

 5   See Hsu Decl., Ex. O, 12/12/23 Daubert Hr’g. Tr. re: Dr. Christian Tomasetti in Delorme-Barton

 6   (“Tomasetti Daubert Hr’g.”) at 157:7-22.          The Court has also recognized that evidence

 7   regarding naturally-occurring genetic mutations explains causation of NHL without regard to

 8   environmental factors:

 9         THE COURT: And what it’s been up until now, I think, is, well, the high percentage
10         of NHL cases are idiopathic. And that’s a very abstract concept for the jurors, and
           you know, it’s easy for the plaintiff’s experts to sort of wave that away; right?
11         …
           And you’re putting meat on the bones of what you’ve said previously which is that
12         such a high percentage of NHL cases are idiopathic.
13   Id. at 158:17-25.

14         THE COURT: why isn’t it very helpful for the jury to hear that X percent of -- were
15         high -- even if there’s no number attached to it -- a high percentage of the, you
           know, cancer and a high percentage of NHL, you know, as is -- is -- can be
16         attributed simply to these replication errors without regard to environmental
           factors, and here’s how it works.
17

18   162:21-163:3.

19          Here, Dr. Boyd admits that spontaneous mutations may initiate cancer (see Ex. P, Boyd

20   (Nelson) Dep. at 46:15-47:2.), and that he cannot rule out that Mr. Canning’s NHL was caused

21   by natural replication errors. Id. Thus, this is not a case where, as Plaintiff suggests, Dr. Boyd

22   “cannot completely rule out idiopathic causes.” (Opp. at 7.) Rather, it is a case where Dr. Boyd

23   admits that one potential cause of Plaintiff’s NHL is natural replication errors—a cause that

24   experts have testified causes approximately 95% of NHL in the population (see Hsu Decl., Ex.

25   O, Tomasetti Daubert Hr’g. at 49:4-16; 57:6-16)—and where Dr. Boyd does not meaningfully

26   consider and rule out this alternative cause. Ex. P, Boyd (Nelson) Dep. at 46:15-47:2.

27          Plaintiff’s reliance on Wendell v. GlaxoSmithKline LLC does not save Dr. Boyd’s

28   opinions. First, the expert’s opinions in Wendell were predicated on a quantitative understanding

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 1   of a decedent’s dose of certain prescription drugs. Wendell v. GlaxoSmithKline LLC, 858 F.3d
 2   1227 (9th Cir. 2017). Here, by contrast, Dr. Boyd’s opinions are based on an “exposure days”
 3   analysis that wholly do not account for dosage. Moreover, the Wendell court held that although
 4   the expert was unable to entirely rule out the possibility that plaintiff’s NHL might have been
 5   idiopathic, “[h]e did not base that assumption on pure conjecture.” Wendell, 858 F.3d at 1235.
 6   But Dr. Boyd does not do the same. Here, Dr. Boyd testified that he could not rule out replication
 7   errors, which he admits can cause NHL, see Ex. P, Boyd (Nelson) Dep. at 46:15-47:2, and which
 8   explain a significant number of NHL cases that would previously have been classified as
 9   idiopathic. See Ex. O, Tomasetti Daubert Hr.g’ at 158:17-25. And Dr. Boyd ignores extensive
10   epidemiology data that shows no increased risk or no dose-response for NHL due to glyphosate
11   exposure while admitting that he cannot rule out that Plaintiff’s NHL was caused by replication
12   errors. See id.
13           As such, Dr. Boyd offers no reliable method in ruling out naturally-occurring genetic
14   mutations, and therefore, his opinion must be excluded. See, e.g., Guinn, 602 F.3d at 1253.
15   III.   CONCLUSION
16           For the foregoing reasons, the Court should grant Monsanto’s motion to exclude
17   Plaintiff’s specific causation expert Dr. Boyd.
18

19   Dated: January 22, 2024                      Respectfully submitted,
20                                                BRYAN CAVE LEIGHTON PAISNER LLP
21
                                                  /s/ Linda C. Hsu
22                                                Linda C. Hsu
                                                  Attorneys for Defendant Monsanto Company
23
                                    CERTIFICATE OF SERVICE
24            I HEREBY CERTIFY that on this 22nd day of January 2024, a copy of the foregoing
     was filed with the Clerk of the Court through the CM/ECF system, which sent notice of the
25   filing to all appearing parties of record.
26
                                                  /s/ Linda C. Hsu
27                                                Linda C. Hsu

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                                                       8
                   REPLY ISO MOTION TO EXCLUDE TESTIMONY OF DR. D. BARRY BOYD
